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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE      SOUTHERN DISTRICT OF GEORGIA

                                               AUGUSTA DIVISION



UNITED STATES OF AMERICA,


                V.                                                     CR   113-220



JESUS AVALA LOMBERA.




                                                 ORDER




        Defendant       has    filed       a   motion    for   reduction     of    sentence    under      18

U.S.C.    § 3582(c)(2)         on the basis that Amendment 782 to the United States

Sentencing       Guidelines          has       revised   the    guidelines        applicable      to    drug

trafficking offenses.                 Even       though Amendment       782 became         effective on

November    1,        2014,    no    defendant      may be      released on        the    basis    of    the

retroactive amendment before November 1, 2015.                           See U.S.S.G. Amend.            788.

Thus,     the        Court    will    undertake          a   review    of    cases       involving      drug

trafficking offenses                in due course.             If Defendant        is entitled to a

sentence     reduction          as    a    result       of   amendments     to     the    United     States

Sentencing Guidelines, the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 439) is DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this ^<v^£*aay of February,
2015.




                                                                J.   RANDAL HALL
                                                             STATES DISTRICT JUDGE
                                                               DISTRICT OF GEORGIA




        The Clerk is DIRECTED to TERMINATE the motion for administrative purposes
